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                        IN THE UNITED STATE DISTICT COURT
                       FOR THE WESTERN DISTRICT OF TEXAS
                               SAN ANTONIO DIVISION

LA UNION DEL PUEBLO ENTERO, et §
al.,                           §
                               §
     Plaintiffs,               §
                               § CIVIL ACTION NO. 5:21-CV-00844-XR
        v.                     § (Consolidated Cases)
                               §
GREGORY W. ABBOTT, et al.,     §
                               §
      Defendants.              §
                               §

                    DEFENDANT KIM OGG’S NOTICE OF APPEAL

       Notice is hereby given that Defendant Kim Ogg, in her capacity as Harris County District

Attorney, appeals to the Fifth Circuit Court of Appeals this Court’s order denying her the legal

defense of sovereign immunity. See Order of Aug. 2, 2022 (Dkt. 450).

                                                    Respectfully submitted,

                                                    BUTLER SNOW LLP

                                                    By: /s/ Eric J.R. Nichols
                                                     Eric J.R. Nichols
                                                     State Bar No. 14994900
                                                     eric.nichols@butlersnow.com
                                                     Karson K. Thompson
                                                     State Bar No. 24083966
                                                     karson.thompson@butlersnow.com
                                                     1400 Lavaca Street, Suite 1000
                                                     Austin, Texas 78701
                                                     Tel: (737) 802-1800
                                                     Fax: (737) 802-1801

                                                      ATTORNEYS FOR DEFENDANT
                                                      KIM OGG, IN HER OFFICIAL
                                                      CAPACITY AS HARRIS COUNTY
                                                      DISTRICT ATTORNEY
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                             CERTIFICATE OF SERVICE

       I hereby certify that on August 10, 2022, a true and correct copy of the foregoing
document was served on all counsel of record by filing with the Court’s CM/ECF system.


                                                        /s/ Eric J.R. Nichols
                                                        Eric J.R. Nichols
